                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                    ASHEVILLE DIVISION
                                   CASE NUMBER l:20CY66

JANE ROE,

       Plaintiff,



UNITED STATES OF AMERICA, et al.,                    )
                                                     )
       Defendants.                                   )

                         DECLARATION OF LEE ANN BENNETT

       Pursuant to 28 U.S.C. $ 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct:

      l.     I am Lee Ann Bennett, the Administrative Office of the United States Courts'
(AO) Deputy Director.

        2. In my role as Deputy Director, the AO's Office of the General Counsel, the Office
of Fair Employment Practices, and the Defender Services Office report to me.

       3.       Around August 2018, I became aware that the then Fair Employment Practices
Officer was actively working with Plaintiff to obtain Plaintiff s employment demands
surrounding allegations of sexual harassment by a co-worker, while also contacting, directly or
indirectly, Plaintiffls employer. This was creating confusion and concern as to whether
PlaintifPs employer was being informed of its legal rights and potential liabilities separate and
apart from any of Plaintiff s demands. Accordingly, with my consent, the Offrce of the General
Counsel and the Office of Fair Employment Practices agreed that the Office of General Counsel
would be the sole AO office responsible for advising Plaintifls employer of its legal rights and
responsibilities.

       4.       I am not aware of anyone at the AO directing the Office of Fair Employment
Practices not to speak to Plaintiff.


Date: October 21,2020




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                            ____________________________________
                            Lee Ann Bennett
                            Administrative Office of the United States Courts
                            Deputy Director




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